                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS



JULIAN GREEN, EUGENE IVEY, JAMES
P. MCKENNA, and LISA NEWMAN-
POLK, individually and on behalf of all
others similarly situated,                                   Civil Action No. 1:21-cv-11504-GAO

                        Plaintiffs,                          DEFENDANT PREMIER BIOTECH,
vs.                                                          INC.’S ANSWERS TO PLAINTIFFS’
                                                               FIRST AMENDED COMPLAINT
SIRCHIE ACQUISITION CO. LLC,                                        AND CROSS-CLAIMS
PREMIER BIOTECH, INC.,
                                                                  JURY TRIAL REQUESTED
                        Defendants.


        Defendant Premier Biotech, Inc. (“Premier”) files the following Answer to Plaintiffs

Julian Green’s and Eugene Ivey’s, on behalf of themselves and those similarly situated, First

Amended Complaint (“First Amended Complaint”)1, in support thereof as follows:

                                               ANSWER

        Premier denies each and every allegation, matter and thing alleged in Plaintiffs’ First

Amended Complaint, including the section headings contained herein, unless hereinafter

specifically admitted or otherwise qualified.

                                          INTRODUCTION

        1.      Denied.

        2.      Denied.

        3.      Premier lacks sufficient information to respond to the allegations in Paragraph 3,

particularly as to the actions of the Massachusetts DOC.



1
 Claims by James P. McKenna and Lisa Newman-Polk were dismissed by the Court’s September 28, 2022 Order on
Premier’s Motion to Dismiss.
       4.      Premier lacks sufficient information to respond to the allegations by Plaintiffs

Ivey and Green in Paragraph 4.        The claims by Plaintiffs McKenna and Polk have been

dismissed by the Court so no response is necessary to the claims by Plaintiffs McKenna and Polk

in this Answer.

                                  JURISDICTION AND VENUE

       5.      Admitted.

                                               PARTIES

       6.      Premier lacks sufficient information to respond to the allegations in Paragraph 6.

       7.      Premier lacks sufficient information to respond to the allegations in Paragraph 7.

       8.      The Court has dismissed Plaintiff McKenna’s claims and so no response is

necessary to the allegations in Paragraph 8.

       9.      The Court has dismissed Plaintiff Polk’s claims and so no response is necessary to

the allegations in Paragraph 9.

       10.     Premier lacks sufficient information to respond to the allegations in the first

sentence of Paragraph 10. Premier admits the remaining allegations in Paragraph 10.

       11.     Premier lacks sufficient information to respond to the allegations in Paragraph 11.

       12.     Admitted.

       13.     Admitted that Premier contracted with the Massachusetts DOC to sell NARK II

products to the Massachusetts DOC. All other allegations in Paragraph 13 are denied.

                                               FACTS

       A.      Sirchie’s Tests

       14.     Because this allegation relates to Sirchie’s actions and statements, Premier lacks

sufficient information to respond to the allegations in Paragraph 14.



                                                  2
       15.     Because this allegation relates to Sirchie’s actions and statements, Premier lacks

sufficient information to respond to the allegations in Paragraph 15.

       16.     Because this allegation relates to Sirchie’s actions and statements, Premier lacks

sufficient information to respond to the allegations in Paragraph 16.

       17.     Because this allegation relates to Sirchie’s actions and statements, Premier lacks

sufficient information to respond to the allegations in Paragraph 17.

               1.     Sirchie’s NARK 20023 Tests Yield a High False Positive Rate

       18.     Because this allegation relates to Sirchie’s actions and statements, Premier lacks

sufficient information to respond to the allegations in Paragraph 18.

       19.     Because this allegation relates to the Massachusetts DOC’s actions and

knowledge, Premier lacks sufficient information to respond to the allegations in Paragraph 19.

       20.     Because this allegation relates to Sirchie’s actions, Premier lacks sufficient

information to respond to the allegations in Paragraph 20.

       21.     Because this allegation relates to Sirchie’s actions, Premier lacks sufficient

information to respond to the allegations in Paragraph 21.

       22.     Because this allegation relates to Sirchie’s actions, Premier lacks sufficient

information to respond to the allegations in Paragraph 22.

               2.     Sirchie’s NARK 20023 Tests Cannot Identify Most Synthetic
                      Cannabinoids in Circulation

       23.     Premier lacks sufficient information to respond to the allegations in Paragraph 23.

       24.     Because this allegation relates to Sirchie’s actions and statements, Premier lacks

sufficient information to respond to the allegations in Paragraph 24.

       25.     Premier lacks sufficient information to respond to the allegations in Paragraph 25.

       26.     Premier lacks sufficient information to respond to the allegations in Paragraph 26.


                                                3
          B.    Sirchie’s Inadequate Training

          27.   Because this allegation relates to Sirchie’s and the DOC’s actions and statements,

Premier lacks sufficient information to respond to the allegations in Paragraph 27.

          28.   Because this allegation relates to Sirchie’s actions and statements, Premier lacks

sufficient information to respond to the allegations in Paragraph 28.

          C.    Premier Biotech Sells Sirchie Tests to the DOC

          29.   Admitted that Premier Biotech contracted with the DOC for the DOC to purchase

Sirchie’s NARK 20023 tests.       The DOC’s bid solicitations and Premier’s bid submission

materials speak for themselves and thus no response is required to the remaining allegations in

Paragraph 29. To the extent a response is required, the remaining allegations in Paragraph 29 are

denied.

          30.   The DOC’s bid solicitation materials speak for themselves and thus no response is

required to the allegations Paragraph 30. To the extent a response is required, the allegations in

Paragraph 30 are denied.

          31.   The DOC’s bid solicitation materials speak for themselves and thus no response is

required to the allegations Paragraph 31. To the extent a response is required, the allegations in

Paragraph 31 are denied.

          32.   The “records produced by the DOC in response to a public records request” speak

for themselves and thus no response is required to the allegations Paragraph 32. To the extent a

response is required, the allegations in Paragraph 32 are denied.

          D.    Sirchie and Premier Biotech Know or Should Have Known that the DOC is
                Imposing Punishment Solely on the Basis of Sirchie’s Faulty Tests

          33.   Because this allegation relates to the DOC’s actions, Premier lacks sufficient

information to respond to the allegations in Paragraph 33.


                                                 4
       34.     Because this allegation relates to the DOC’s actions, Premier lacks sufficient

information to respond to the allegations in Paragraph 34.

       35.     Because this allegation relates to Sirchie’s knowledge and the DOC’s actions,

Premier lacks sufficient information to respond to the allegations in Paragraph 35.

       36.     Denied.

       37.     Denied.

       38.     Denied.

       E.      Plaintiffs and Plaintiff Classes Have Suffered Substantial Injuries as a Result
               of Defendants’ Wrongful Conduct

               1.     The DOC used Sirchie’s test to falsely accuse Mr. McKenna, a
                      preeminent defense attorney, of sending drugs to a client

       39.     Premier lacks sufficient information to respond to the allegations in Paragraph 39.

       40.     Premier lacks sufficient information to respond to the allegations in Paragraph 40.

       41.     Premier lacks sufficient information to respond to the allegations in Paragraph 41.

       42.     Premier lacks sufficient information to respond to the allegations in Paragraph 42.

       43.     Premier lacks sufficient information to respond to the allegations in Paragraph 43.

       44.     Premier lacks sufficient information to respond to the allegations in Paragraph 44.

       45.     Premier lacks sufficient information to respond to the allegations in Paragraph 45.

       46.     Premier lacks sufficient information to respond to the allegations in Paragraph 46.

       47.     Premier lacks sufficient information to respond to the allegations in Paragraph 47.

       48.     Premier lacks sufficient information to respond to the allegations in Paragraph 48.

       49.     Premier lacks sufficient information to respond to the allegations in Paragraph 49.

       50.     Premier lacks sufficient information to respond to the allegations in Paragraph 50.

       51.     Premier lacks sufficient information to respond to the allegations in Paragraph 51.



                                                5
              2.      The DOC used Sirchie’s test to falsely accuse and punish Plaintiff
                      Green for legal mail sent by the Boston College Innocence Program

       52.    The allegations in Paragraph 52 relate to the actions by the DOC and Plaintiff

Green, and therefore Premier lacks sufficient knowledge to respond.

       53.    The allegations in Paragraph 53 relate to the actions by the DOC and Plaintiff

Green, and therefore Premier lacks sufficient knowledge to respond.

       54.    The allegations in Paragraph 54 relate to the actions by the DOC and Plaintiff

Green, and therefore Premier lacks sufficient knowledge to respond.

       55.    The allegations in Paragraph 55 relate to the actions by the DOC and Plaintiff

Green, and therefore Premier lacks sufficient knowledge to respond.

       56.    The allegations in Paragraph 56 relate to the actions by the DOC and Plaintiff

Green, and therefore Premier lacks sufficient knowledge to respond.

       57.    The allegations in Paragraph 57 relate to the actions by the DOC and Plaintiff

Green, and therefore Premier lacks sufficient knowledge to respond.

       58.    The allegations in Paragraph 58 relate to the actions by the DOC and Plaintiff

Green, and therefore Premier lacks sufficient knowledge to respond.

       59.    The allegations in Paragraph 59 relate to the actions by the DOC and Plaintiff

Green, and therefore Premier lacks sufficient knowledge to respond.

       60.    The allegations in Paragraph 60 relate to the actions by the DOC and Plaintiff

Green, and therefore Premier lacks sufficient knowledge to respond.

              3.      The DOC used Sirchie’s test to falsely accuse Plaintiff Newman-Polk
                      of sending drugs to her client, Plaintiff Ivey, resulting in his
                      immediate punishment and jeopardizing a favorable parole decision

       61.    The allegations in Paragraph 61 relate to the actions by the DOC and Plaintiff

Ivey, and therefore Premier lacks sufficient knowledge to respond.


                                               6
        62.     Premier lacks sufficient information to respond to the allegations in Paragraph 62.

        63.     Premier lacks sufficient information to respond to the allegations in Paragraph 63.

        64.     The allegations in Paragraph 64 relate to the actions by the DOC and Plaintiff

Ivey, and therefore Premier lacks sufficient knowledge to respond.

        65.     The allegations in Paragraph 65 relate to the actions by the DOC and Plaintiff

Ivey, and therefore Premier lacks sufficient knowledge to respond.

        66.     Premier lacks sufficient information to respond to the allegations in Paragraph 66.

        67.     The allegations in Paragraph 67 relate to the actions by the DOC and Plaintiff

Ivey, and therefore Premier lacks sufficient knowledge to respond.

        68.     Premier lacks sufficient information to respond to the allegations in Paragraph 68.

        69.     The allegations in Paragraph 69 relate to the actions by the DOC and Plaintiff

Ivey, and therefore Premier lacks sufficient knowledge to respond.

        70.     The Court has dismissed the claims by Plaintiff Polk, and therefore no response is

necessary to any claims by Plaintiff Polk in Paragraph 70. Furthermore, Paragraph 70 references

a letter which speaks for itself.

        71.     The allegations in Paragraph 71 relate to the actions by the DOC and Plaintiff

Ivey, and therefore Premier lacks sufficient knowledge to respond.

                                    CLASS ALLEGATIONS

        72.     Denied.

        73.     Paragraph 73 states a desire by Plaintiffs and therefore no response is required.

Premier denies that any class should be certified.

        74.     Paragraph 74 states a desire by Plaintiffs and therefore no response is required.

Premier denies that any class should be certified.



                                                 7
       75.     Paragraph 75 states a desire by Plaintiffs and therefore no response is required.

Premier denies that any class should be certified.

       76.     Paragraph 76 states a desire by Plaintiffs and therefore no response is required.

Premier denies that any class should be certified.

       A.      Each Class meets the requirements for certification

       77.     Denied.

       78.     Denied.

       79.     Denied.

       80.     Denied.

       81.     Denied.

       82.     Denied.

       83.     Denied.

       84.     Denied.

                                          COUNT I
                                          Negligence
                     On Behalf of the Recipient Class and the Sender Class
                                   Against Defendant Sirchie

       85.     Premier incorporates and restates its responses to the allegations in Paragraphs 1-

84 above.

       86.     The allegations in Paragraph 86 relate to Sirchie and therefore Premier lacks

sufficient knowledge to respond to Paragraph 86.

       87.     The allegations in Paragraph 87 relate to Sirchie and therefore Premier lacks

sufficient knowledge to respond to Paragraph 87.

       88.     The allegations in Paragraph 88 relate to Sirchie and therefore Premier lacks

sufficient knowledge to respond to Paragraph 88.


                                                 8
       89.    The allegations in Paragraph 89 relate to Sirchie and therefore Premier lacks

sufficient knowledge to respond to Paragraph 89.

                                         COUNT II
                                        Negligence
                    On Behalf of the Recipient Class and the Sender Class
                            Against Defendant Premier Biotech

       90.    Premier incorporates and restates its responses to the allegations in Paragraphs 1-

89 above.

       91.    Denied.

       92.    Denied.

       93.    Denied.

       94.    Denied.

       95.    Denied.

                                         COUNT III
     Violation of the Massachusetts Consumer Protection Act, Mass. Gen. Laws. Ch. 93A
                     On Behalf of the Recipient Class and the Sender Class
                                   Against Defendant Sirchie

       96.    Premier incorporates and restates its responses to the allegations in Paragraphs 1-

95 above.

       97.    The allegations in Paragraph 97 relate to Sirchie and therefore Premier lacks

sufficient knowledge to respond to Paragraph 97.

       98.    The allegations in Paragraph 98 relate to Sirchie and therefore Premier lacks

sufficient knowledge to respond to Paragraph 98.

       99.    The allegations in Paragraph 99 relate to Sirchie and therefore Premier lacks

sufficient knowledge to respond to Paragraph 99.

       100.   The allegations in Paragraph 100 relate to Sirchie and therefore Premier lacks

sufficient knowledge to respond to Paragraph 100.

                                               9
       101.   The allegations in Paragraph 101 relate to Sirchie and therefore Premier lacks

sufficient knowledge to respond to Paragraph 101.

       102.   The allegations in Paragraph 102 relate to Sirchie and therefore Premier lacks

sufficient knowledge to respond to Paragraph 102.

       103.   The allegations in Paragraph 103 relate to Sirchie and therefore Premier lacks

sufficient knowledge to respond to Paragraph 103.

       104.   The allegations in Paragraph 104 relate to Sirchie and therefore Premier lacks

sufficient knowledge to respond to Paragraph 104.

                                         COUNT IV
     Violation of the Massachusetts Consumer Protection Act, Mass. Gen. Laws. Ch. 93A
                     On Behalf of the Recipient Class and the Sender Class
                             Against Defendant Premier Biotech

       105.   Premier incorporates and restates its responses to the allegations in Paragraphs 1-

104 above.

       106.   Admitted that Premier marketed and sold Sirchie’s NARK II tests to the DOC.

Denied that such actions subject Premier to Mass. Gen. Laws Ch. 93A.

       107.   Denied.

       108.   Denied.

       109.   Denied.

       110.   Denied.

       111.   The allegations in Paragraph 111 relate to statements made in Exhibit B to the

Amended Complaint, which Exhibit B speaks for itself. Therefore, no response is necessary to

Paragraph 111. To the extent a response is necessary, Premier denies the allegations made in

Exhibit B.




                                              10
        112.    The allegations in Paragraph 112 relate to statements made in Exhibit B to the

Amended Complaint, which Exhibit B speaks for itself. Therefore, no response is necessary to

Paragraph 112. To the extent a response is necessary, Premier denies the allegations made in

Exhibit B.

        113.    The allegations in Paragraph 113 relate to statements made in Exhibit B to the

Amended Complaint, which Exhibit B speaks for itself. Therefore, no response is necessary to

Paragraph 113. To the extent a response is necessary, Premier denies the allegations made in

Exhibit B.

                                      PRAYER FOR RELIEF

        114.    No response is required to Plaintiffs’ Prayer for Relief.

                                   AFFIRMATIVE DEFENSES

        1.      The First Amended Complaint fails to state a claim upon which relief can be

granted.

        2.      Plaintiffs’ claims are barred, in whole or in part, because Plaintiffs failed to suffer

any damages and/or failed to mitigate their damages, if any.

        3.      Plaintiffs’ claims are barred because the actions of other parties, including, but not

necessarily limited to, Sirchie, the Massachusetts DOC, and individual DOC officers constitute

intervening causes which preclude liability against Premier.

        4.      Plaintiffs’ claims are barred by assumption of risk, contributory negligence,

estoppel, illegality, laches, and res judicata.

        5.      Plaintiffs’ claims may be barred, in whole or in part, by other affirmative defenses

which will not be known until discovery is complete and Premier reserves the right to assert all

other affirmative defenses which may become available during or following the completion of

discovery.
                                                  11
                     CROSS-CLAIM AGAINST DEFENDANT SIRCHIE

       Premier asserts the following cross-claims against Defendant Sirchie pursuant to F.R.C.P.

13.

                            FACTS COMMON TO CROSS-CLAIM

       1.      In or around 2017, Premier agreed to market and sell on behalf of Sirchie various

NARK II products, including the products identified by Plaintiffs in the First Amended

Complaint.

       2.      Pursuant to such agreement, Premier did market and sell various NARK II

products to the Massachusetts DOC, including the products identified by Plaintiffs in the First

Amended Complaint, from 2017 to 2022.

       3.      Premier did not manufacture any products sold to the Massachusetts DOC.

       4.      The NARK II products which were supplied to the Massachusetts DOC were

manufactured by Sirchie. They are intended to be used for the “presumptive identification” of

certain drugs. As “presumptive identification” tests, the tests are not intended to be used as

conclusive evidence of the presence of drugs.

       5.      Premier submitted a bid to supply the NARK II products to the DOC and the

DOC accepted it. Premier’s bid was based on the information related to the manufacture, testing,

and sale of the NARK II products provided by Sirchie.

             CROSS-CLAIM COUNT I (CONTRIBUTION AND INDEMNITY)

       7.      Premier restates and realleges the allegations contained in the Paragraphs above

as though fully set forth herein.

       8.      Premier alleges that the damages alleged by Plaintiffs in its First Amended

Complaint, if and to the extent they are proven at trial, were caused by Sirchie and/or their agents



                                                12
and employees’ negligence regarding the manufacture, production, marketing, sale, and/or

training regarding the NARK II products identified in the First Amended Complaint.

       9.      If Plaintiffs suffered any injuries and/or damages as alleged in its First Amended

Complaint, and to the extent not caused by Plaintiff’s own fault or an intervening cause, such

injuries and/or damages were caused by the negligence, breach of contract, breach of warranty,

fault or other unlawful conduct of Sirchie regarding the manufacture, production, marketing,

sale, and/or training regarding the NARK II products identified in the First Amended Complaint.

       10.     If Premier is found liable to Plaintiffs for any amount of injuries and/or damages,

or are otherwise called upon to pay damages to Plaintiffs by way of settlement, verdict, judgment

or compromise, liability for which Premier expressly denies, then Premier is entitled to

contribution and/or indemnification from Sirchie for any such damages awarded to Plaintiffs.

       11.     The relationship between Premier and Sirchie is such that in the event any

liability is found against Premier, such liability would be derivative of the negligence caused by

Sirchie’s actions.

                                    PRAYER FOR RELIEF

       WHEREFORE, Defendant Premier Biotech, Inc. respectfully requests that this Honorable

Court: 1) enter judgment in its favor and dismiss Plaintiffs’ claims against Defendant Premier

Biotech, Inc. with prejudice and costs; or, 2) in the event a judgment is entered against P Premier

Biotech, Inc., enter judgment against Sirchie and in favor of Premier Biotech, Inc. in the amount

so determined at trial or by way of settlement, verdict, judgment or compromise, together with

interest, disbursements, and reasonable attorneys’ fees and costs.




                                                13
                                   DEMAND FOR JURY TRIAL

           Defendant Premier Biotech, Inc. demands a trial by jury of all claims and cross-claims so

triable.

Dated: October 24, 2022                                s/ Devon C. Holstad ___________________
                                                       jwindler@winthrop.com
                                                       Admitted Pro Hac Vice
                                                       Devon C. Holstad, #559221 (NY)
                                                       dholstad@winthrop.com
                                                       Admitted Pro Hac Vice
                                                       WINTHROP & WEINSTINE, P.A.
                                                       225 South Sixth Street Suite 3500
                                                       Minneapolis, Minnesota 55402
                                                       (612) 604-6400

                                                       AND

                                                       Shepard Davidson (BBO#557082)
                                                       sdavidson@burnslev.com
                                                       Michael A. DeIulis (BBO#691495)
                                                       mdeiulis@burnslev.com
                                                       BURNS & LEVINSON LLP
                                                       125 High Street
                                                       Boston, MA 02110
                                                       (617) 345-3000

                                                       Attorneys for Defendant
                                                       Premier Biotech, Inc.




                                                  14
                                 CERTIFICATE OF SERVICE

      I, Devon C. Holstad, hereby certify that on October 24, 2022, I served the foregoing
document on the parties, via ECF to counsel of record as follows:

Ellen Leonida                                    Kenneth B. Walton, Esq.
Matthew Borden                                   LEWIS BRISBOIS BISGAARD & SMITH
Christman Rice                                   LLP
Eric Schlabs                                     One International Place, Suite 350
BraunHagey & Borden LLP                          Boston, MA 02100
351 California Street, 10th Floor                Email: ken.walton@lewisbrisbois.com
San Francisco, CA 94104
leonida@braunhagey.com                           Attorneys for Sirchie Acquisition Co. LLC
borden@braunhagey.com
rice@braunhagey.com
schlabs@braunhagey.com

Janet Herold
Benjamin Elga
Justice Catalyst Law, Inc.
123 William St., 16th Floor
New York, NY 10038
jherold@justicecatalyst.org
belga@justicecatalyst.or

Max D. Stern
Lorraine Belostock
Todd & Weld LLP
One Federal Street, 27th Floor
Boston, MA 02110
mdstern@toddweld.com
lbelostock@toddweld.com

Attorneys for Plaintiffs Julian Green, Eugene
Ivey, James P. McKenna, and Lisa Newman-
Polk and the Classes


                                                     /s/ Devon C. Holstad
                                                     Devon C. Holstad, #559221 (NY)
                                                     Admitted Pro Hac Vice

24949918v1




                                                15
